     Case 2:23-cr-00047-JLS    Document 508 Filed 05/07/25       Page 1 of 2 Page ID
                                       #:11511



 1                            DECLARATION OF SAMUEL CROSS
 2           I, Samuel Cross, declare:
 3           1.    I am a California-licensed DFPD appointed to represent Thomas Girardi in
 4    this matter. Unless otherwise stated, I make this declaration based on personal
 5    knowledge and, if called as a witness, would attest to its contents under oath.
 6           2.    On Wednesday, May 7, 2025, at 7:13 p.m., the Court entered a text-only
 7    order that read, in relevant part: “[A]s counsel was able to send an investigator to the
 8    hospital to photograph Defendant, it appears that counsel does have access to Mr.
 9    Girardi and could inquire. Defense counsel is ORDERED to do so and inform the
10    Court of his response by Friday, May 8, 2025, at 10 a.m. IT IS SO ORDERED.”
11           3.    Counsel was not “able to send an investigator to the hospital to photograph
12    Defendant.” Rather, as indicated in the under-seal declaration of Alejandra Gomez,
13    defense investigator, photographs of Mr. Girardi were provided to counsel by staff at
14    the memory care facility where Mr. Girardi resides and the medical aide who
15    accompanied him at the hospital. As indicated in Ms. Gomez’s Declaration, Mr.
16    Girardi was taken to the emergency room by paramedics on Wednesday, May 7, 2025,
17    evaluated by emergency room personnel that afternoon, and ultimately admitted to the
18    hospital around 2:30 p.m. The photographs were provided by third parties who were
19    with Mr. Girardi, as indicated in Ms. Gomez’s Declaration. Neither counsel for Mr.
20    Girardi nor investigators employed by the Federal Public Defender visited Mr. Girardi
21    on Wednesday, May 7, 2025.
22           4.    In conformity with the Court’s Wednesday, May 7, 2025 order of 7:13
23    p.m., I spoke with Mr. Girardi by telephone on May 7, 2025, at approximately 8:24
24    p.m.
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     Case 2:23-cr-00047-JLS     Document 508 Filed 05/07/25      Page 2 of 2 Page ID
                                        #:11512



 1          5.     Mr. Girardi indicated he does not wish to waive his right to be personally
 2    present at the hearing to be held in this case pursuant to 18 U.S.C. § 4244, currently
 3    calendared for Thursday May 8, 2025, at 2:00 p.m. Rather, he wishes to be personally
 4    present for this hearing. If he cannot be personally present for a hearing on Thursday
 5    May 8, 2025, at 2:00 p.m., because of his hospitalization, he expressed a desire that the
 6    hearing be continued until he can be personally present.
 7          I declare under penalty of perjury under the laws of the United States of America
 8    that the foregoing is true and correct.
 9          Executed on May 7, 2025, at Long Beach, California.
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11                                              /s/ Samuel Cross             .
                                                SAMUEL O. CROSS
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